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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

 KEITH COLE, JACKIE BRANNUM,      §
 RICHARD KING, MICHAEL            §
 DENTON, FRED WALLACE, and        §
 MARVIN RAY YATES, individually   §
 and on behalf of those similarly §
 situated,                        §
        Plaintiffs,               §
                                  §
 v.                               §             CIVIL ACTION NO. 4:14-cv-1698
                                  §
 BRYAN COLLIER, in his official   §
 capacity, ROBERT HERRERA, in his §
 official capacity, and TEXAS     §
 DEPARTMENT OF CRIMINAL           §
 JUSTICE,                         §
        Defendants.               §

    DEFENDANTS’ MOTION FOR RECONSIDERATION OF ORDER
           TO PRODUCE PRIVILEGED DOCUMENT

      Defendants, Bryan Collier, Robert Herrera, and the Texas Department of

Criminal Justice, respectfully move the Court to reconsider its order directing the

partial disclosure of Document No. 163. In support, Defendants would show the

Court as follows:

      On July 17, 2020 the Court issued an order directing the disclosure, or partial

disclosure, of certain communications provided by Defendants to the Court for in

camera review (Doc. No. 1574) (Order).

      One of the documents subject to the Order is the document logged as

Document 163, Bates No. 14277. The Court’s order requires production of part
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of this email, which is a September 17, 2019 communication between Defendants’

litigation counsel and their client representatives at TDCJ, including lawyers at

TDCJ’s General Counsel Office. The Order directs that “the portion of the email

that speaks directly to the issue of knowledge of the misrepresentations may be

revealed to Plaintiffs” [ECF No. 1574 at 4]. The Court’s redactions appropriately

allow Defendants to withhold the majority of the communication as privileged

without exception, on the recognition that the communication on its face represents

a confidential communication between lawyer and client representatives, including

the clients’ internal agency counsel.

      The Court thus confirms the general privileged nature of the email, but

nonetheless has ordered production of a portion that in the Court’s view “speaks

directly to the issue of knowledge of the misrepresentations.” Defendants move the

Court to reconsider this portion of its Order. While Defendants acknowledge and

respect the Court’s consideration of this document and the Court’s ruling,

Defendants submit that these sentences identified by the Court are part and parcel of

the confidential communication that occurred between attorney and client as part of

litigation. This email explicitly discusses active investigation and client consultation

conducted by Defendants’ litigation counsel after Plaintiffs filed their motion for

contempt and sanctions.

      “[T]he [attorney-client] privilege exists to protect not only the giving of

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professional advice to those who can act on it but also the giving of information to

the lawyer to enable him to give sound and informed advice.” Upjohn Co. v. United

States, 449 U.S. 383, 390 (1981). The Supreme Court further stated in Upjohn that

“[t]he first step in the resolution of any legal problem is ascertaining the factual

background and sifting through the facts with an eye to the legally relevant.” Id. at

390–91. In Upjohn, the communications were made by company employees to

company attorneys during an attorney-led internal investigation that was undertaken

to ensure the company’s “compliance with the law.” Id. at 392. The Court ruled

that the privilege applied to the internal investigation and covered the

communications between company employees and company attorneys.

      Other courts have similarly recognized that “factual investigations performed

by attorneys as attorneys fall comfortably within the protection of the attorney-client

privilege.” Sandra T.E. v. S. Berwyn Sch. Dist. 100, 600 F.3d 612, 619 (7th Cir.

2010) (emphasis added).      “[T]he attorney-client privilege protects confidential

employee communications made during a business’s internal investigation led by

company lawyers.” In re Kellogg Brown & Root, Inc., 756 F.3d 754, 756 (D.C. Cir.

2014) (Kavanaugh, J.). (“[I]f one of the significant purposes of the internal

investigation was to obtain or provide legal advice, the privilege will apply . . .

regardless of whether an internal investigation was conducted pursuant to a company

compliance program required by statute or regulation, or was otherwise conducted

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pursuant to company policy.”) Id. at 760.1

       As the Fifth Circuit has recognized, “[t]he purpose of the privilege is to

‘encourage full and frank communication between lawyers and their clients and

thereby promote broader public interests in the observance of law and administration

of justice.’” United States v. Robinson, 121 F.3d 971, 974 (5th Cir. 1997) (quoting

United States v. (Under Seal), 748 F.2d 871, 873 (4th Cir. 1984)). “This purpose

allows clients to make full disclosure to their attorneys of past wrongdoings to obtain

the aid of persons having knowledge of the law and skilled in its practice.” Willy v.

Administrative Review Bd., 423 F.3d 483, 495 (5th Cir. 2005) (internal quotations

omitted).

       This communication was not made contemporaneously with the events that

form the basis of Plaintiffs’ claims, rather this is a communication made by litigation

counsel in order to investigate and respond to the claims raised by Plaintiffs. The

two unredacted sentences in Document 163 fall squarely within the parameters of

the foregoing authority and the confidentially of Defendants communication with

their litigation counsel should be preserved.

       Defendants therefore respectfully request the Court to reconsider this portion



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 Defendants would also point out that, under Texas law, the privilege extends to the entire
document and not merely to the portion of the document containing legal advice, opinions, or
analysis. In re ExxonMobil Corp, 97 S.W.3d 353, 357 (Tex. App.—Houston [14th Dist.] 2003,
no pet.), citing Pittsburgh Corning Corp. v. Caldwell, 861 S.W.2d 423, 425 (Tex. App.—
Houston [14th Dist.] 1993, orig. proceeding.
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of its order and allow Defendants to withhold Document 163 in its entirety.

Date: August 17, 2020.

                                      Respectfully submitted,

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                                      Attorney General of Texas

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                                      /s/ Ted A. Ross
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                                    ATTORNEYS FOR DEFENDANTS




                     CERTIFICATE OF CONFERENCE

      Defendants’ Counsel conferred with Plaintiffs’ Counsel via email on August
16, 2020, Plaintiffs’ are opposed to this motion.

                              /s/ Ted A. Ross
                              Ted A. Ross




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                       CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the above and foregoing
document has been served on August 17, 2020 on the following via electronic
service:

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                             /s/ Ted A. Ross
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